8:05-cr-00378-BCB-RCC         Doc # 43    Filed: 02/13/06    Page 1 of 5 - Page ID # 100




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                 8:05CR378
                                             )
       vs.                                   )                REPORT AND
                                             )              RECOMMENDATION
MARCO A. COVARRUBIAS,                        )
                                             )
                     Defendant.              )


       This matter is before the Court on the motion to suppress filed by the defendant
Marco A. Covarrubias (Covarrubias) (Filing No. 25). The defendant is charged in an
Indictment along with co-defendant Maximilian Dominguez. Covarrubias is charged in
Count IV with the possession with intent to distribute 50 grams or more of
methamphetamine in violation of 21 U.S.C. § 841(a)(1) and (b)(1). Covarrubias is also
charged in Count V with the use and carrying of a firearm during a drug trafficking offense
in violation of 18 U.S.C. § 924(c). Count VI alleges a criminal forfeiture charge regarding
$8,300.00 seized from Covarrubias on September 26, 2005, pursuant to 21 U.S.C. § 853.
Covarrubias seeks to suppress all evidence obtained from the search of a residence at
5021 South 39th Street, Omaha, Nebraska, on September 26, 2005, pursuant to a search
warrant issued by a judge of the County Court of Douglas County, Nebraska.
       An evidentiary hearing on the motion was held on December 29, 2005. Covarrubias
was represented by James J. Regan and the United States was represented by Assistant
U.S. Attorney Nancy A. Svoboda. Chandler Thompson, a certified interpreter in the
Spanish language, was available as an interpreter by remote telephone hook-up; however
Covarrubias stated he understood the English language and waived the presence of the
interpreter (TR. 2). The court heard the testimony of Officer Mark Lang (Officer Lang) of
the Omaha Police Department. The court also received into evidence the following
exhibits: a Search Warrant (Exhibit 1) and an Affidavit and Application for Issuance of a
Search Warrant (Exhibit 2). A transcript (TR.) of the hearing was filed on January 10, 2006
(Filing No. 33). There was no post-hearing briefing.
8:05-cr-00378-BCB-RCC         Doc # 43     Filed: 02/13/06   Page 2 of 5 - Page ID # 101




                                  FINDINGS OF FACT
       On September 26, 2005, Officer Mark Lang of the Omaha Police Department
submitted a sworn affidavit to a Douglas County Court Judge seeking a search warrant for
the premises at 5021 South 39th Street, Omaha, Nebraska (TR. 9; Exhibit 2). In that
affidavit, Officer Lang recounted that a confidential informant, or cooperating witness, had
purchased a quarter of a pound of methamphetamine from Maximilian Dominguez at
Dominguez’s residence at 3108 Marcy Street in Omaha, Nebraska.                         This
methamphetamine was tested by the Eastern Nebraska Forensic Laboratory and tested
positive for methamphetamine.
       On August 30, 2005, the cooperating witness made a second purchase of
methamphetamine from Dominguez. However, on this occasion the cooperating witness
and Dominguez drove to 5021 South 39th Street where the cooperating witness gave
Dominguez the buy money. Dominguez stated the residence was that of his supplier and
Dominguez went into the residence at 5021 South 39th Street alone. Dominguez returned
to the car, whereupon the cooperating witness and Dominguez drove to a parking lot near
33rd and L Streets where they waited for a Hispanic male to arrive. Shortly thereafter, the
Hispanic male arrived and delivered a quarter of a pound of methamphetamine to the
cooperating witness and Dominguez. The methamphetamine was later tested by the lab
to be positive for methamphetamine.
       On September 26, 2005, Officer Lang used the cooperating witness to make another
purchase of methamphetamine from Dominguez. During this transaction, the cooperating
witness and Dominguez again drove to 5021 South 39th Street where Dominguez went
inside and later returned with methamphetamine which was provided to the cooperating
witness. Thereupon, Dominguez was arrested and interviewed after being read his
Miranda rights. Dominguez told the officers that his supplier was a person named
“Marcos” and that Marcos lived at 5021 South 39th Street where he had obtained previous
amounts of methamphetamine. Officer Lang further stated the cooperating witness had
supplied information in another case leading to a search warrant and seizure of narcotics.
       The search warrant was authorized by the Douglas County Court Judge and was
executed on September 26, 2005 (Exhibit 1). Officer Lang testified he relied in good faith

                                             2
8:05-cr-00378-BCB-RCC          Doc # 43     Filed: 02/13/06    Page 3 of 5 - Page ID # 102




on the validity of the search warrant when he assisted in the execution of the warrant (TR.
10).


                                     LEGAL ANALYSIS
       An affidavit for a search warrant must contain probable cause of four ingredients:
time, crime, objects, and place. 2 Wayne R. LaFave, Search and Seizure, § 3.7(d) at 372
(3d ed. 1996). As the Supreme Court stated in Illinois v. Gates, 462 U.S. 213, 238 (1983):
“The task of the issuing magistrate is simply to make a practical, common-sense decision
whether, given all the circumstances set forth in the affidavit before him, including the
‘veracity’ and ‘basis of knowledge’ of persons supplying hearsay information, there is a fair
probability that contraband or evidence of a crime will be found in a particular place.” Id.
Thus, when viewing a search warrant, the court must look at the totality of the
circumstances set forth in the affidavit. See id.; United States v. Etheridge, 165 F.3d 655,
656 (8th Cir. 1999). “The duty of the judge issuing a search warrant is to make a ‘practical,
common-sense decision’ whether, considering all the circumstances, a reasonable person
could have reason to suspect that evidence would be discovered. . . . Probable cause is
a fair probability that contraband evidence of a crime will be found in the location to be
searched.” United States v. LaMorie, 100 F.3d 547, 552 (8th Cir. 1996). See Gates, 462
U.S. at 238.
       The statements of a reliable confidential informant are themselves sufficient to
support probable cause. United States v. Wright, 145 F.3d 972, 975 (8th Cir. 1998). The
Eighth Circuit has stated:
               [T]he core question in assessing probable cause based upon
               information supplied by an informant is whether the information
               is reliable. Information may be sufficiently reliable to support
               a probable cause finding if the person providing the information
               has a track record of supplying reliable information, or if it is
               corroborated by independent evidence.
United States v. Williams, 10 F.3d 590, 593 (8th Cir. 1993) (citing Draper v. United
States, 358 U.S. 307, 313 (1959)); see Walden v. Carmack, 156 F.3d 861, 870 (8th Cir.
1998). “It is well established that a statement in an affidavit that an informant has provided


                                               3
8:05-cr-00378-BCB-RCC           Doc # 43     Filed: 02/13/06     Page 4 of 5 - Page ID # 103




reliable information in the past is sufficient to establish the reliability or credibility of the
informant.” United States v. Sumpter, 669 F.2d 1215, 1220 (8th Cir. 1982) (citing United
States v. Schmidt, 662 F.2d 498, 502 (8th Cir. 1981)). However, “[a] warrant affidavit
[need not contain] an averment of previous reliability, the appropriate inquiry always being
whether the informant’s present information is truthful and reliable.” United States v.
Scalia, 993 F.2d 984, 987 (1st Cir. 1993) (citing United States v. Cochrane, 896 F.2d
635, 641 (1st Cir.), cert. denied, 496 U.S. 929 (1990)).
       In this case, the affidavit did contain such an averment. Furthermore, information
provided by a confidential informant is sufficiently reliable to support probable cause if
independently corroborated. See United States v. Fulgham, 143 F.3d 399, 401 (8th Cir.
1998). The information from the cooperating witness was corroborated by the surveillance
of the officers, the production of the methamphetamine which was tested by the laboratory,
and the post-arrest admissions of a participant in the narcotics transactions. The affidavit
for the search warrant was not deficient and contained adequate probable cause for the
issuance of the warrant.
       Even assuming arguendo, that probable cause was lacking in sufficiency, the Leon
good faith exception would allow the admissibility of the evidence seized. See United
States v. Leon, 468 U.S. 897 (1984). In Leon, the Supreme Court held that “evidence
obtained pursuant to a search warrant should not be excluded where the officers executed
the warrant ‘with an objectively reasonable reliance on the magistrate’s determination of
probable cause.’” United States v. LaMorie, 100 F.3d 547, 555 (8th Cir. 1996). There are
four exceptions to this good faith rule:
              (1) where the issuing judicial officer was misled by information
              in an affidavit that the affiant knew was false or would have
              known was false except for his reckless disregard of the truth;
              (2) where the issuing officer “wholly abandoned his judicial
              role;” (3) where the affidavit supporting the warrant contained
              so few indicia of probable cause “as to render official belief in
              its existence entirely unreasonable;” and (4) where the warrant
              itself is so facially deficient that no executing officer could
              reasonably presume it to be valid.
Id. (internal citations omitted). In this case, none of the four exceptions are present.


                                               4
8:05-cr-00378-BCB-RCC         Doc # 43    Filed: 02/13/06    Page 5 of 5 - Page ID # 104




       IT IS RECOMMENDED TO JUDGE LAURIE SMITH CAMP that Marco A.
Covarrubias’s motion to suppress (Filing No. 25) be denied.


                                     ADMONITION
       Pursuant to NECrimR 57.3 any objection to this Report and Recommendation shall
be filed with the Clerk of the Court within ten (10) days after being served with a copy of
this Report and Recommendation. Failure to timely object may constitute a waiver of any
objection. The brief in support of any objection shall be filed at the time of filing such
objection.   Failure to file a brief in support of any objection may be deemed an
abandonment of the objection.
       DATED this 13th day of February, 2006.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge




                                             5
